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             EXHIBIT E
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                      INTERNAL: NOT FOR DISTRIBUTION OUTSIDE THE GOVERNMENT



    NIH Grants Management staff Guidance - Awa rd Assessments for Alignment with
    Agency Priorities- March 2025

   Issue Date: March 25, 2025
   Background

   Thrs staff guidance rescinds the guidance provided in the February 13, 2025, memo to IC Chief Grants
   Management Officers entitled Supplemental Guidance - NIH Review of Agency Priorities Based on the
   New Administration's Goals. In accordance with the Secretarial Directive on DEi Related Funding
  (Appendix 1), NIH will no longer prioritize resea rch and research training programs that focus on
  Diversity, Equity and Inclusion (DEi). Terminatiof)Sthat r~sult from science that no longer effectuates
  NIH's priorities related to DEi, gender identity and other scientific areas must follow the appeals
  guidance below. All other terminations for noncompliance require, always, appeal language.

 Prior to issuing all awards (competing and non-competing) or approving requests for carryover, ICs
 must review the specific aims/major goals of the project to assess whether the proposed project
 contains any DEi, gender identity or other research activities that are not an NIH/HHS priority/
 authority. To avoid issuing awards, in error, that support these activities ICs must take care to
 completely excise all non-priority activities using the following categories.

 ICs shou!d review the current application/RPPR under consideration, only. ICs should not request
 retroactive changes to previous RPPRs and competitive applications to modify language related to
 research th at has already been conducted. categories 1-3 are IC determinations not those ordered by
 HHS.

category t: The sole purpose of the project ,s related to an area that is no longer an NIH/HHS priority/
 authority (e.g., diversity supplements, diversity fellowships, or conference grant where the purpose of
 the meeting is diversity), and/or the application was received in response to a NOFO that has be.en
unpublished due to its focus on activities that are no longer an NIH/HHS priority/authority. This applies
to all projects, i~Aglpll~t,/WJrYJ§JJ@tt:!:1e award (competing or non-competing).
             o For ongoing projects where NIH will not issue the next Type 5 (IC determination not HHS
                  list), the IC must:
                  o     Issue a revised award to remove all outyears.
                  o    Add the action to the master spreadsheet located at: OD OPERA Grant Action
                       Tracking (access limited to CGMOs).
                  o    Include the following term in the revised NOA:

                       Term ofAward:                                                         ...
                       It is the policy of NIH not to prioritize research programs related to [insert
                      category from Appendix 3, verbytim] . Therefore, no additional funding will be
                      awarded for this project, and alPfuture years have been removed. [RECIPIENT
                      NA~EJ may requ~s~ funds to support patient safety and orderly closeout of the
                      pro1ect, and rema,_ni_n~ fun_d s will be deobligated . Funds used to support any
                      other research ~ctiv1ties will be disallowed and recovered. Please be advised
                      that your organization, as part of the orderly closeout process will need to


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                      submit the necessary closeout documents (i.e., Final Research Performance
                      Progress Report, Final Invention Statement, and the final Federal Financial
                      Report (FrR), as applicable) within 120 days of the end of this grant.

                       NIH is taking this enforcement action in accordance with 2 C.F.R. § 200. ~40 as
                      implemented in NIH GPS Section 8.5.2 . This revised award represents the final
                      decision of the NIH. It shall be the final decision of the Department of Health
                      and Human Services {HHS) unl~s within 30 days after receiving this decision you
                      mail or email a written notice of appeal to Or. Matthew Memoli. Please include a
                      copy of this decision, your appeal justification, total amount in dispute, and any
                      material or documentation that will support your position. Finally, the appeal
                      must be signed by the institutional official authorized to sign award applications
                      and must be dated no later than 30 days after the date of this notie::e.

                  o   Check PMS to determine amount of funds remaining, and if funds are available
                      request a hard funds restriction of all funds except $1 in PMS.

         o   No cost extension requests: For second and third NCE's, ICs must determine if the sole
             purpose of the grant was to support research activities that are no longer an NIH/HHS
             priority/authority and, if so, issue an award to end t he grant project (use disapproved
             extension term below). If the non-NIH/ HHS priority/authority research activities are
             ancillary to the project, approve the extension (use approved extension term below).
             Reminder - even if a grant project is in an NCE, IC staff must still determine if non-
             NIH/HHS priority/authority activities are proposed during the extension period.
             Extensions may only be approved for orderly closeout, and funds may not be used to
             support any non-NIH/ HHS priority/authority research activities.


              0    ICs may use the following term of award when approving/disapproving NCEs:
                       •    Term of Award (approved extension): The no-cost extension has been
                             approved for this project to support orderly closeout of the project,
                           - only. NIH grants funds must not be used to support [insert category-
                            e.g., Diversity, Equity and Inclusion (DEi), gender identity, etc.] research
                            or research training activities or programs. Anyfunds used to support
                            such activities will result in a disallowance of costs., and funds will be
                            recovered.               I
                            Term of Award (disapproved extension): Th e no cost extension request
                            for this project has been denied. Please proceed with orderly closeout of
                            the project. NIH grant funds must not be used to support {insert
                           ~category - e.g., Diversity, Equity and Inclusion (DEi), gender identity,
                           etc.] research or research training activities or programs.         ••

Category 2 : Project partially supports non- NIH/HHS priority/authority activities (i.e., the project
may still be viable if those aims or activities are negotiated out, without significant changes from
the original peer-reviewed scope). This means the non-NIH/HHS priority/authority activities are
ancillary to the purpose of the project, in some cases, not readily visible. This category requires a
scientific assessment and requires the GM to use the Restriction Term of Award in Section IV of


                                                 2
the Notice of Award. No exceptions will be allowed without a deviation from the Office of Policy
for Extramural Research Administration {OPERA)/Office
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   o  Note: Activities required to comply with NIH inclusion policies are not considered DEi
      activities.
  a Action 1: Funding IC must negotiate with the applicant/recipient to address the activities
     that are non-compliant, along with the associated funds that support those activities,
     obtain revised aims and budgets, and 1cument the changes in the grant file. The
     recipient/awardee cannot rebudget these funds, they must be recovered by the IC.
    tJPERA is consulting with eRA on options to collect these application updates in a
    strugured format.
         • Sample language tor requesting application updates from the AO~: It is the
               policy of NIH not to prioritize [select one of the following: diversity; ~quity and
               indusfon (D[I) research programs, gender identity, vaccine hesitancy, climate
              change or countries of concern, e.g., China or South Africa.] [Funding IC] has
              rdentffied [insert appropriate activity taken from the Hst above} activities within
              section [XXXX] of your application. Please work with the PD/Pl to update the
              application sections and adjust the budget as appropriate to remove all [insert
              appropriate activity] activities and submit these updates to the Program Official
              and Grants Management Specialist for review and approval.
 o Action 2: Once the IC and the applicant/recipient have reached an agreement, issue the
       award and include the following Term and Condition of Award in Section l,V of the Notice
       of Award . Hard funds restrictions are not required.

             Term of Award (Approved 2/28/2025 - Refer to Appendix 4 for the approval
             from Or. Memoli):

            NIH and the recipient have renegotiated the scope of this award. Pursuant to
            the revised scope, NIH funds may only be used to support activities within the
            revised scope of the awa rd . NIH funds may not be used to support activities that
            are outside the revised scope of the award, including [select one of the
            following: diversity, equity and hlclusion (DEi) resea rch programs, gender
            identity, vaccine hesitancy, climate change or countries of concern, e.g., China or
            South Africa, et c.] research or related resea rch training activities or programs.
            Any funds used to support activities outside the scope will result in a
            disallowance of costs, and funds will be recovered.                         ...

            This term is consistent with NI H's ongoing internal review of NI H's priorities and
           the alignment of awards with those priorities as well as a review of program
           integrity of awards. Sud) review includes, but is not limited to, a review for
           fraud, waste and abuse, and a review of the NIH portfolio to determine whether
           awards are in the best interest s of the government and consistent with policy
           priorities. If recipients are unclea r on whether a specific activity constitutes
           [select one of the following: diversity, equity and inclusion (DEi) research
           programs, gender identity, vaccine hesit ancy, climate change or countries of

                                          3
                         concern, e.g., China or South Africa., et c.] or has questions regarding other
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                         activities that could be considered outside t he scope of the award, refrain from
                         drawing down funds and co nsult with the funding IC, particu larly where the
                         activity may impact the specific aims, goals, and objectives of the project.


    0        unable to remove activities that are 'J)t an NIH/HHS priority/authority: If the IC and
            the applicant/recipient cannot reach an agreement, or the project is no longer viable
            without the non-compliant activities, the IC ca nnot proceed with the award. For ongoing
            projects, t he IC must work with OPERA to negotiate a bilateral termination of the
            project. Where bilateral termination cannot be reached, the IC must unilaterally
           terminate the project. Terminated awards (bilaterally or unilaterally) should follow the
           process identified in Category 4.
    o      Diversity Supplements: Type 5 Diversity supplements may no longer be aw.arded. For
           ongoing awards, ICs must remove the diversity supplement activities prior to issuing the
           next Type 5 for the parent award and include the DEi Term and Condition of Award in
           Section IV of the NOA of the parent grant. The IC must revise the Diversity Supplement
           award to remove all outyears. lf'diversity supplement outyears were included in the
          previous NOA, the IC must revise the prior year award to remove references to those
          outyear commit ments.
o         Conference Grants: If a conference supported by an NIH grant focu ses on scientific
          topics t hat are unrelated to DEi, but the conference itse lf is t arget ed at a specific
          population (e.g., underrepresented groups), the IC must wo rk w ith the
          applicant/recipient to open the conference up to all populations. If a negotiation to
         broaden t he target audience is not feasible, or the conference is no longer viable, then
         the IC must terminate the awa rd following the process in Cat egory 4.
o        Diversity Reports (e.g., Ts, R25, Kl2, and any others): NIH is modifying the application
        instructions and RPPR instructions to remove requirements for diversity reports (e.g.,
        Trainee Diversity Report). If ICs receive these reports in appl ications or RPPRs, the IC
        should not review the report. These reports provide dive rsity related information, but do
        not involve specific DEi activities. ICs must use the following t erm : " NIH no longer
        requires the [name of diversity ta ble/pl ans] . Therefore, NIH did not review the [name of
        diversity table/plans] provided. NIH funding may not be used to support any diversity,
        equity or inclusion {DEi) activities". Note: this section applies to diversity related reports,
        -._ I ._.   ~    ~ - - - - - ~L.. - 4- - - - - - 1 - - - - ... ti.Ill t / 1 II I C"" ...... __ :.a...: __ I   ••
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          Prospective ~views by GM where the DEi tang...-~ge i~ ce~fin sections of the application has
          to be remove<:I even t hough the project it~elf is !not fdtuse'd on DEi but may have language or
                                                           II
  '       have be~n awarded from~ OE'I NOFO,tha~ is ex1prred/~akerit down for revision to go back up
          once the language is apprbpriately excised,

          Examples below, and in these c~ses, IC shoJ.d (iionsiJbr using th~ Category 2 term of aw.1rd
          but remove the negotiation language from the term:
                      ,;;
                      •      Resource Section
                      •      Biosketch
                      •      RPPRs

category 2C:

               Subprojects termfnated by HHS.

                      •
                                                                        .      .             '      •


                             OPERA w ill restrict the funds associ~ted with the project. No actfon req.uired
                             from the IC                       ij ij,
                                                               ,11i,

Category 3 : Project does not support any DEi activities
   o Action:- IC mav proceed w ith issuing the award. ''ii

 Category 4/HHS Departmental Authority Terminati.ons:

          o    OPERA receives a list from the Director, NIH dr designee.
          o    OPERA will issue termination letters on behalf of t he IC Chief Grants Management
              ~ffi.cers. The IC CGMO will be copied on the email with the termination letter.
                   •    S~pplements - Parent Award 1Jrminated: If a terminated award has ;iaive
                        supplement(s), all supplement awards must be terminated along with the
                      =      parent.        ....
                      •- -    uppJement Terminated Only: If a termination letter references a supplement
                      Oll~Y, and r:rottche-parent award, then the supplement alone must be terminated
                     following the instructions below.
                 •   l:inkedl or equivalent) Awards: If one linked (or equivalent) award i.s termrnaterl,
                     th<:, IC is only required to terminate t he specific award noted in th~ letter..The IC
                     mtI§t conduct a separate review to determine whether terminatingthat awan:I
                    will have a structural impact on the scientific design along with associated
                     outcomes and act, as appropriate, t o early terminate or allow the remaining
                     awards to continue. Feel free to discuss with OPERA, as needed.
      o       When a termination letter is rec~ived, the IC must:

                  •         Issue a revised NOA w ithin 3 business days of the date the termination letter
                            was issued to the recipient.
                            • Change the budget and project period end dates to match the date ofthe
                                termination letter.
                                    •  OPERA will place a hard funds restriction on all PMS subaccounts as
                                        termination letters are issued. OPERAs Federal Financial Report
                                        Center (FFR-C} will deobligate the remaining funds after the Final


                                                         5
                          FFRs are submitted.
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                                                    is no deobligation action Page
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                                the ICs.
                  •    Remove all future years from the project, where applicable. If the grant is in
                       a no cost extension, and HH6 requests a termination, the project must be
                       terminated even in a no cost extension. If the grant is in a no cost extension,
                       and HHS did not request a termination, follow the NCE guidance above.
                  •    Include the following Termination Term in the revised NOA:

                       It is the policy of NIH not to prioritize [insert termination category language
                      from Appendix 3, verbatim]. Therefore, this project is terminated.
                      [RECIPIENT NAME] may request funds to support patient safety and orderly
                      closeout of the project. Funds used to support any other research activities
                      will be disallowed and recovered. Please be advised that your organization,
                      as part of the orderly closeout process will need to submit the ·n·ecessary
                      closeout documents (i.e., Final Research Performance Progress Report, Final
                      Invention Statement, and the Final Federal Financial Report {FFR), as
                      applicable) within 120 days of the end of this grant.


                       NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340
                       as implemented in NIH GPS Section 8.5.2. This revised award represents the
                      final decision of the NIH. It shall be the final decision of the Department of
                      Health and Human Services (HHS) unless within 30 days after receiving this
                      decision you mail or email a written notice of appeal to Dr. Matthew
                      Memoli. Please include a copy of this decision, your appeal justification,
                      total amount in dispute, and any material or documentation that will
                      support your position. Finally, the appeal must be signed by the institutional
                      official authorized to sign award applications and must be dated no later
                      than 30 days after the date of this notice.
                               l
                   Note: Appeals language must be included prior to October 1, 2025. After
                   October 1, 2025, when HHS will fully adopt 2 CFR 200, per 2 CFR 200.340.
                   termination actions taken based on agency priorities are not appealable.
                   This is different from terminations based on noncompliance (administrative
                   and programmatic).
o   eRA provides OPERA with daily reports on NOAs issued, so ICs do not need to report to
    OPERA on each action completed.

Category 5: Awards to Entities in certain foreign countries

    o   Additional guidance on awards to foreign entities is forthcoming. At this time, tCs shourd
        hold all awards to entities located in South Africa or countries identified on any of the
        following lists.
             • State Department Countries of Particular Concern
             • State Sponsors of Terrorism
           •    Final Rule Restricting Transfer of Personal U.S. Data to Countries of Concern
           •    Office of Foreign Assets Contro l Sanctions List




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